

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS





NO. WR-78,434-02






JOE LOUIS BOGANY, Relator


v.


HARRIS COUNTY DISTRICT CLERK, Respondent






ON APPLICATION FOR A WRIT OF MANDAMUS

CAUSE NOS. 1168760, 1168761, 1205423, 1205426, 1205427, 1205428, 1205429 &amp; 1205430
IN THE 232ND DISTRICT COURT

FROM HARRIS COUNTY





	Per curiam.


O R D E R




	Relator has filed a motion for leave to file a writ of mandamus pursuant to the original
jurisdiction of this Court.  In it, he contends that he filed applications for a writ of habeas corpus in
the 232nd District Court of Harris County, that more than 35 days have elapsed, and that the
applications have not yet been forwarded to this Court.

	In these circumstances, additional facts are needed.  Respondent, the District Clerk of Harris
County, is ordered to file a response, which may be made by submitting the record on such habeas
corpus applications, submitting copies of timely filed orders that designates issues to be investigated
(see McCree v. Hampton, 824 S.W.2d 578, 579 (Tex. Crim. App. 1992)), or stating that Relator has
not filed applications for a writ of habeas corpus in Harris County.  Should the response include 
orders designating issues, proof of the date the district attorney's office was served with the habeas
applications shall also be submitted with the response.  This application for leave to file a writ of
mandamus shall be held in abeyance until Respondent has submitted the appropriate response.  Such
response shall be submitted within 30 days of the date of this order.



Filed: December 12, 2012

Do not publish	


